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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS

FRANCES J. HANLON, on behalf of                   )
herself and those similarly situated,             )
                                                  )
         Plaintiff,                               )
                                                  )
V.                                                )       CASE NO. 21 CV 3057
                                                  )
PHH MORTGAGE CORPORATION,                         )
AS SUCCESSOR TO MAVERIK                           )
FINANCIAL CORP., PHH MORTGAGE                     )
SERVICING CORPORATION, AND                        )
PHH MORTGAGE SERVICES                             )
                                                  )
        Defendants.                               )


                   MOTION TO VOLUNTARILY DISMISS WITH PREJUDICE
        Now Comes Plaintiff, FRANCES J. HANLON. with her motion to voluntarily dismiss
with prejudice her claims and voluntarily dismiss without prejudice the claims of the uncertified
class and in support of this motion states as follows:
        1.        Plaintiff, Frances J. Hanlon, has been made whole by Defendant PHH Mortgage

Corporation. As such, Plaintiff, Frances J. Hanlon can no longer adequately represent the

putative class.

        2.        Plaintiff, seeks dismissal of this action in the interest of justice.

        3.        Pursuant to Rule 23 a motion to dismiss the cause of action of the uncertified

class is necessary to dispose of this action.

     WHEREFORE, Plaintiff prays this court dismiss with prejudice the claims of Frances J.

Hanlon and dismiss without prejudice the claims of the uncertified class.

                                                  Respectfully submitted,


                                                  /s/Robert T. Hanlon,
                                                  Robert T. Hanlon
                                                  Attorney for Plaintiff
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Dated: September 7, 2021

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